 

Can you please simply scan it onto my Docket & place it into my

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MA ale
Dear Clerk Bradley, 5/7/20 (Mailed 5/8) MAY 14 ogy

David J, Bradley, Clerk of Court

Enclosed is my CORRECTED Outline for a new Rule 60 filing.

 

file for Judge Hanen to read along. with my 5/4/20 "Motion to
Consider Attached Letter..." Hopefully he'll understand that
this Outline is meant to REPLACE the eam pages 7 & 8 Outline

attached with that motion.

Thank you very much.

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Sincerely,

 

Robert Alan Fratta

Case No. 4:13-cv-03438

 

 
 

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*** CORRECTED OUTLINE FOR A NEW RULE 60 MOTION TO BE FILED *#*
(thie: outline is meant to REPLACE the one attached to my 5/4/20 "Motion. to
Consider Attached Letter..."}:.& is based upon my Rule 60 filing in Dockets
114, 115,/ 116, 127 & 128, which will all be needed to understand & apply
this Outline)

Start the new Rule 60 motion with my "I. Jurisdiction to Grant Relief" &
cite it all.
Next do my "IIT. Reasons Justifying Relief..." heading, keep my "A." heading,

& my "1)- Innocence" paragraph. I'm fine if you can word it better than I did.

Next can be my "2) Errors of Law" paragraph & all of "a)".

Hl
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| Next I |feel should be my "£)" paragraph as the new "b)".

 

My current "c)" can be omitted (due to the Bledsue ruling) & replaced with

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the fact that Harmon dia not follow the Jackson mandates as I cited in my 5/2/20
letter to my attorneys I attached with my 5/4/20 motion. Use that letter to

‘cite supporting cases & the things she did. That letter has a lot of supporting

facts & cases.

I guess my current "b)" can now be cited as the new "d)" (regarding the

term "orincipal").

Then the new "e)" should probably be my current "k)™ from my 2nd Amendment
in Dkt. 127. Cite S.Ct. cases like Dunn, 442 U.S. 100, & Berger, 295 U.S. 78,
then also Gollihar, 46 SW3d 243 & Planter, 9 SW3d 156. You can also incor-
porate my| argument in my "1)" (lower case "L") from Dkt 128 (3rd Amendment)

for this fatal/material variance "reason" for relief.

Next can be my current "1)" from Dkt 115 as the new "f£)", but it will need
to be reworded & perhaps incorporate arguments from my current "d)" & "e)"
from Dkt 114, I guess it can also state ‘my Jury charge wording might consti-
tute solicitation of capital murder at the utmost, but not any kind of 19.03
capital murder, & solicitation is a lesser offense. (Please also quote cases
like I think Jackson that have ruled it doesn't matter if the evidence tends
to show “some" offense was committed, it's unconstitutional/unlawful to uphold

a conviction on an offense NOT committed or proved or indicted for).

Next can be my current "3)" from Dkt 115 as the new "g)".

 
 

 

 

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Then my current "g)" of Dkt 114 can be the new:"h)".
-My current "h)" of Dkt 114 can be the new "i)".

Then we come to my current "3) Abuses of Discretion" where all my reasons
from "a)” thru "4)" can remain the same, but I'm open to discussion for the
last few. But another reason/abuse NEEDS to be ADDED, & probably right behind
my currenti"d)". As my 5/2/20 letter says, Harmon never considered the fact
I was "DENIED" by the trial court & subsequently CCA during State Habeas when
I motioned for a hearing on the sufficiency of the evidence, & for the CCA to
remedy. the trial court's denials of my motions & proposed findings of fact &
conclusions of law where I proved my attorneys’ 11.071 filing qualified as a
NON-application for NOT attacking or seeking relief from the actual conviction
as required by law; all filed & ruled on after I was designated as pro se only
during a hearing to dismiss my attorneys. Harmon's ignoring all my pro se 11.071
filings & rulings was a miscarriage of justice, .& I believe qualified as my
having exhaustec the legal insufficiency issues. Harmon SHOULD have taken my

State Habeas proceedings into consideration also. This is strong proof of a

defect in the integrity. of the federal habeas PROCEEDINGS overall.

Then all my current. "4) Lack of Counsel..." needs to remain cited as further

valid reagons for granting relief under Rule 60.. -

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I feel both my current "5)" & "6)" of "Changed Circumstances” should remain.

T want my current "7)" & "8)" to remain cited as reasons. —

Next can be the Schlup reason(s) as YOU .want (provided another Rule 60 can

be filed aftexards with MY reasons IF relief isn' t granted with all these

“reasons cited herein thus far).

Next can be 2254 violations as I've cited in previous pro se filings.

Next can cite new rule of law under such cases as Webb & Crutsinger as I
stated in! my 5/2/20 letter, \& any other reasons you can think of.

‘Add 4."No: Evidence" reason. under ‘thom gon 362.0 S..199,et al.

Then my "B. Defect in the Integrity..." MUST be cited/remain.

My current "II.", "Iv." & "Vv." MUST also remain/be cited.

I also feel my current "VI." should remain; & maybe "VII.", but we can

discuss it. And that would“conclude a NEW Rule 60 filing.as I want & need.

 
 

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David J, Bradley, Clerk of Court

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